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 5
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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     KORTTNEY ELLIOTT,                         Case No.:
11
                  Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR DENIAL
           vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                             PERSON IN VIOLATIONS OF
14                                             1. AMERICANS WITH DISABILITIES
                                               ACT, 42 U.S.C. §12131 et seq.;
15   HASHISHA SMOKE SHOP; SAMAR F.
     DAOUD; and DOES 1 to 10,                  2. CALIFORNIA’S UNRUH CIVIL
16                                             RIGHTS ACT;
                  Defendants.
17                                             3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
18
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE;
20                                             5. NEGLIGENCE
21
22
23         Plaintiff KORTTNEY ELLIOTT (“Plaintiff”) complains of Defendants
24   HASHISHA SMOKE SHOP; SAMAR F. DAOUD; and DOES 1 to 10 (“Defendants”)
25   and alleges as follows:
26   //
27   //
28   //


                                        COMPLAINT - 1
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 1                                             PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from hemiplegia and is substantially limited in her ability to walk. Plaintiff requires the
 4   use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a smoke shop
 7   (“Business”) located at or about 15117 Foothill Blvd., Fontana, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
28




                                              COMPLAINT - 2
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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 7   reside in this district, San Bernardino County, California.
 8                                    FACTUAL ALLEGATIONS
 9         10.    In or about July of 2023, Plaintiff went to the Business.
10         11.    The Business is a smoke shop business establishment, open to the public,
11   and is a place of public accommodation that affects commerce through its operation.
12   Defendants provide parking spaces for customers.
13         12.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with her ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business.
16         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17   included, but were not limited to, the following:
18                a.    Defendants failed to comply with the federal and state standards for
19                      the parking space designated for persons with disabilities. Defendants
20                      failed to provide the parking space identification sign with the
21                      International Symbol of Accessibility.
22                b.    Defendants failed to comply with the federal and state standards for
23                      the parking space designated for persons with disabilities. Defendants
24                      failed to post required signage such as “Van Accessible,” “Minimum
25                      Fine $250” and “Unauthorized Parking.”
26                c.    Defendants failed to comply with the federal and state standards for
27                      the parking space designated for persons with disabilities. Defendants
28                      failed to provide proper van accessible space designated for the



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 1                       persons with disabilities as there were no “NO PARKING” markings
 2                       painted on the surface of the access aisle. Additionally, the access
 3                       aisle did not meet the minimum required 96-inch width.
 4                d.     Defendants failed to maintain the parking space designated for
 5                       persons with disabilities to comply with the federal and state
 6                       standards. Defendants failed to maintain the mark on the space with
 7                       the International Symbol of Accessibility.
 8                e.     Defendants failed to maintain the parking space designated for
 9                       persons with disabilities to comply with the federal and state
10                       standards. Defendants failed to maintain the paint on the ground as
11                       required.
12         14.    These barriers and conditions denied Plaintiff the full and equal access to the
13   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
14   patronize the Business; however, Plaintiff is deterred from visiting the Business because
15   her knowledge of these violations prevents her from returning until the barriers are
16   removed.
17         15.    Based on the violations, Plaintiff alleges, on information and belief, that
18   there are additional barriers to accessibility at the Business after further site inspection.
19   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
20   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
21         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
22   knew that particular barriers render the Business inaccessible, violate state and federal
23   law, and interfere with access for the physically disabled.
24         17.    At all relevant times, Defendants had and still have control and dominion
25   over the conditions at this location and had and still have the financial resources to
26   remove these barriers without much difficulty or expenses to make the Business
27   accessible to the physically disabled in compliance with ADDAG and Title 24
28




                                            COMPLAINT - 4
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 1   regulations. Defendants have not removed such barriers and have not modified the
 2   Business to conform to accessibility regulations.
 3   //
 4   //
 5                                    FIRST CAUSE OF ACTION
 6          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7         18.    Plaintiff incorporates by reference each of the allegations in all prior
 8   paragraphs in this complaint.
 9         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
10   shall be discriminated against on the basis of disability in the full and equal enjoyment of
11   the goods, services, facilities, privileges, advantages, or accommodations of any place of
12   public accommodation by any person who owns, leases, or leases to, or operates a place
13   of public accommodation. See 42 U.S.C. § 12182(a).
14         20.    Discrimination, inter alia, includes:
15                a.    A failure to make reasonable modification in policies, practices, or
16                      procedures, when such modifications are necessary to afford such
17                      goods, services, facilities, privileges, advantages, or accommodations
18                      to individuals with disabilities, unless the entity can demonstrate that
19                      making such modifications would fundamentally alter the nature of
20                      such goods, services, facilities, privileges, advantages, or
21                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                b.    A failure to take such steps as may be necessary to ensure that no
23                      individual with a disability is excluded, denied services, segregated or
24                      otherwise treated differently than other individuals because of the
25                      absence of auxiliary aids and services, unless the entity can
26                      demonstrate that taking such steps would fundamentally alter the
27                      nature of the good, service, facility, privilege, advantage, or
28




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 1                       accommodation being offered or would result in an undue burden. 42
 2                       U.S.C. § 12182(b)(2)(A)(iii).
 3                c.     A failure to remove architectural barriers, and communication barriers
 4                       that are structural in nature, in existing facilities, and transportation
 5                       barriers in existing vehicles and rail passenger cars used by an
 6                       establishment for transporting individuals (not including barriers that
 7                       can only be removed through the retrofitting of vehicles or rail
 8                       passenger cars by the installation of a hydraulic or other lift), where
 9                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
10                d.     A failure to make alterations in such a manner that, to the maximum
11                       extent feasible, the altered portions of the facility are readily
12                       accessible to and usable by individuals with disabilities, including
13                       individuals who use wheelchairs or to ensure that, to the maximum
14                       extent feasible, the path of travel to the altered area and the
15                       bathrooms, telephones, and drinking fountains serving the altered
16                       area, are readily accessible to and usable by individuals with
17                       disabilities where such alterations to the path or travel or the
18                       bathrooms, telephones, and drinking fountains serving the altered area
19                       are not disproportionate to the overall alterations in terms of cost and
20                       scope. 42 U.S.C. § 12183(a)(2).
21         21.    Where parking spaces are provided, accessible parking spaces shall be
22   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
23   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
24   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
25   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
26   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
27         22.    Under the ADA, the method and color of marking are to be addressed by
28   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California



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 1   Building Code (“CBC”), the parking space identification signs shall include the
 2   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 3   with a minimum area of 70 square inches. Additional language or an additional sign
 4   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 5   parking space identification sign shall be permanently posted immediately adjacent and
 6   visible from each parking space, shall be located with its centerline a maximum of 12
 7   inches from the centerline of the parking space and may be posted on a wall at the
 8   interior end of the parking space. See CBC § 11B-502.6, et seq.
 9         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
10   each entrance to an off-street parking facility or immediately adjacent to on-site
11   accessible parking and visible from each parking space. The additional sign shall not be
12   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
13   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
14   designated accessible spaces not displaying distinguishing placards or special license
15   plates issued for persons with disabilities will be towed always at the owner’s expense…”
16   See CBC § 11B-502.8, et seq.
17         24.    Here, Defendants failed to provide the parking space identification sign with
18   the International Symbol of Accessibility. In addition, Defendants failed to provide the
19   signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
20   to provide the additional sign with the specific language stating “Unauthorized vehicles
21   parked in designated accessible spaces not displaying distinguishing placards or special
22   license plates issued for persons with disabilities will be towed always at the owner’s
23   expense…”
24         25.    For the parking spaces, access aisles shall be marked with a blue painted
25   borderline around their perimeter. The area within the blue borderlines shall be marked
26   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
27   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
28   be painted on the surface within each access aisle in white letters a minimum of 12 inches



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 1   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 2   11B-502.3.3.
 3         26.      Here, Defendants failed to provide a proper access aisle as there were no
 4   “NO PARKING” markings painted on the parking surface. Additionally, the blue
 5   hatched lines, which indicate the presence of the access aisle, were serverely deteriorated,
 6   hindering visibility. Moreover, Defendants failed to provide the access aisle with the
 7   minimum width of 96 inches.
 8         27.      The surface of each accessible car and van space shall have surface
 9   identification complying with either of the following options: The outline of a profile
10   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
11   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
12   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
13   length of the parking space and its lower side or corner aligned with the end of the
14   parking space length or by outlining or painting the parking space in blue and outlining
15   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
16   occupant. See CBC § 11B-502.6.4, et seq.
17         28.      Here, Defendants failed to maintain the paint of the International Symbol of
18   Accessibility on the surface as required.
19         29.      A public accommodation shall maintain in operable working condition those
20   features of facilities and equipment that are required to be readily accessible to and usable
21   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
22         30.      By failing to maintain the facility to be readily accessible and usable by
23   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
24   regulations.
25         31.      The Business has denied and continues to deny full and equal access to
26   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
27   discriminated against due to the lack of accessible facilities, and therefore, seeks
28




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 1   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2   by individuals with disabilities.
 3                                 SECOND CAUSE OF ACTION
 4                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5         32.    Plaintiff incorporates by reference each of the allegations in all prior
 6   paragraphs in this complaint.
 7         33.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9   national origin, disability, medical condition, genetic information, marital status, sexual
10   orientation, citizenship, primary language, or immigration status are entitled to the full
11   and equal accommodations, advantages, facilities, privileges, or services in all business
12   establishments of every kind whatsoever.”
13         34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15   for each and every offense for the actual damages, and any amount that may be
16   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18   attorney’s fees that may be determined by the court in addition thereto, suffered by any
19   person denied the rights provided in Section 51, 51.5, or 51.6.
20         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
21   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22   shall also constitute a violation of this section.”
23         36.    The actions and omissions of Defendants alleged herein constitute a denial
24   of full and equal accommodation, advantages, facilities, privileges, or services by
25   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27   51 and 52.
28




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 1          37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3    damages as specified in California Civil Code §55.56(a)-(c).
 4                                  THIRD CAUSE OF ACTION
 5                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6          38.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8          39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9    entitled to full and equal access, as other members of the general public, to
10    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15    places of public accommodations, amusement, or resort, and other places in which the
16    general public is invited, subject only to the conditions and limitations established by
17    law, or state or federal regulation, and applicable alike to all persons.
18          40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19    corporation who denies or interferes with admittance to or enjoyment of public facilities
20    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22    the actual damages, and any amount as may be determined by a jury, or a court sitting
23    without a jury, up to a maximum of three times the amount of actual damages but in no
24    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25    determined by the court in addition thereto, suffered by any person denied the rights
26    provided in Section 54, 54.1, and 54.2.
27          41.    California Civil Code § 54(d) specifies, “a violation of the right of an
28    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1    constitute a violation of this section, and nothing in this section shall be construed to limit
 2    the access of any person in violation of that act.
 3          42.    The actions and omissions of Defendants alleged herein constitute a denial
 4    of full and equal accommodation, advantages, and facilities by physically disabled
 5    persons within the meaning of California Civil Code § 54. Defendants have
 6    discriminated against Plaintiff in violation of California Civil Code § 54.
 7          43.    The violations of the California Disabled Persons Act caused Plaintiff to
 8    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9    statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                 FOURTH CAUSE OF ACTION
11                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12          44.    Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14          45.    Plaintiff and other similar physically disabled persons who require the use of
15    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16    such facility is in compliance with the provisions of California Health & Safety Code §
17    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18    provisions of California Health & Safety Code § 19955 et seq.
19          46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20    that public accommodations or facilities constructed in this state with private funds
21    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22    Title 1 of the Government Code. The code relating to such public accommodations also
23    require that “when sanitary facilities are made available for the public, clients, or
24    employees in these stations, centers, or buildings, they shall be made available for
25    persons with disabilities.
26          47.    Title II of the ADA holds as a “general rule” that no individual shall be
27    discriminated against on the basis of disability in the full and equal enjoyment of goods
28    (or use), services, facilities, privileges, and accommodations offered by any person who



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 1    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2    Further, each and every violation of the ADA also constitutes a separate and distinct
 3    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4    award of damages and injunctive relief pursuant to California law, including but not
 5    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6
 7                                    FIFTH CAUSE OF ACTION
 8                                          NEGLIGENCE
 9           48.    Plaintiff incorporates by reference each of the allegations in all prior
10    paragraphs in this complaint.
11           49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
12    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
13    to the Plaintiff.
14           50.    Defendants breached their duty of care by violating the provisions of ADA,
15    Unruh Civil Rights Act and California Disabled Persons Act.
16           51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
17    has suffered damages.
18                                      PRAYER FOR RELIEF
19           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
20    Defendants as follows:
21           1.     For preliminary and permanent injunction directing Defendants to comply
22    with the Americans with Disability Act and the Unruh Civil Rights Act;
23           2.     Award of all appropriate damages, including but not limited to statutory
24    damages, general damages and treble damages in amounts, according to proof;
25           3.     Award of all reasonable restitution for Defendants’ unfair competition
26    practices;
27           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
28    action;



                                             COMPLAINT - 12
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 1          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 2          6.     Such other and further relief as the Court deems just and proper.
 3                               DEMAND FOR TRIAL BY JURY
 4          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 5    demands a trial by jury on all issues so triable.
 6
 7    Dated: October 23, 2023                 SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
11                                                   Attorneys for Plaintiff
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                                            COMPLAINT - 13
